     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 1 of 16


 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   ROBERT WESTFALL, individually and                No. 2:16-cv-02632-KJM-GGH
     on behalf of all others similarly situated,
12
                        Plaintiffs,
13                                                    ORDER
            v.
14
     BALL METAL BEVERAGE
15   CONTAINER CORPORATION, a
     Colorado Corporation, and Does 1-20
16   inclusive.
17                      Defendant.
18

19                  The plaintiffs, hourly workers, move for class certification on behalf of themselves

20   and other similarly situated former and current employees of defendant Ball Metal Beverage

21   Container Corp. (“BMBC” or “BALL”) for several labor code violations. Pls.’ Mot. Class Cert.

22   (Mot.), ECF No. 27; Pls.’ Mem. P. & A., ECF No. 28. Defendant opposes their motion. Def.’s

23   Opp’n Class Cert. (Opp’n), ECF No. 42. Plaintiffs have replied. Pls.’ Reply Class Cert. (Reply),

24   ECF No. 45. For the reasons discussed below, the court finds class certification is appropriate,

25   and the motion is GRANTED IN PART and DENIED IN PART.

26   ////

27   ////

28   ////
                                                     1
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 2 of 16


 1   I.       BACKGROUND
 2         A.       Procedural Background
 3                  Plaintiffs filed this action on September 7, 2016 in the Superior Court for the
 4   County of Solano. Am. Notice of Removal, ECF No. 2. On November 3, 2016, defendant
 5   removed the action to this court. Id. On April 6, 2017, plaintiffs filed the operative complaint.
 6   First Am. Compl. (FAC), ECF No. 20. Plaintiffs filed their motion for class certification on
 7   July 28, 2017. Mot. Defendant filed an opposition and objections to plaintiffs’ evidence, in
 8   support of its motion on August, 28, 2017, and plaintiffs replied on September 12, 2017. Opp’n;
 9   Reply.
10                  Plaintiffs have not requested a hearing on the pending motion, which the court has
11   submitted on the papers. Min. Order, ECF No. 49 (citing Merrill v. S. Methodist Univ., 806 F.2d
12   600, 608–09 (5th Cir. 1986); Arcera v. Chinlund, 565 F.2d 253, 255 (2d Cir. 1977)).
13         B.       Factual Background and Claims
14                  BMBC is a Colorado corporation which operates a plant making aluminum cans in
15   Fairfield, California. Pls.’ Mem. P. & A. 2. From September 7, 2012 through the present, BMBC
16   has employed approximately 140 to 150 hourly employees in the production, engineering, and/or
17   support departments at the Fairfield plant. Id. at 8.
18                  Named plaintiffs Robert Westfall, David Anderson and David Ellinger work as
19   hourly-paid employees at BMBC’s Fairfield plant, and named plaintiff Lynn Bobby was formerly
20   employed at the plant as an hourly employee in the production department. FAC ¶¶ 19–22.
21   Westfall works as an Electronic Technician, Anderson worked as an Electronic Technician and
22   now works as a Machinist, Ellinger works as a Maintenance Worker, and Bobby worked as a
23   Machinist/Mechanic. Id.
24                  This putative class action arises from one central claim: Plaintiffs allege they were
25   required to monitor pages that sounded over an intercom system at defendant’s plant at all times
26   while they were working, including during their meal and rest breaks, a practice they say
27   constitutes a failure to provide breaks under California labor law. See generally FAC. Plaintiffs
28   ask the court to certify the following seven claims for class treatment: (1) failure to pay wages
                                                       2
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 3 of 16


 1   and/or overtime, California Labor Code §§ 510, 1194 and 1199; (2) failure to provide meal
 2   periods, id. §§ 226.7 and 512; (3) failure to allow rest periods, id. § 226.7; (4) wage statement
 3   penalties, id. § 226(a); (5) waiting time penalties, id. § 203; (6) unfair competition, Cal. Bus. &
 4   Prof. Code § 17200; and (7) civil penalties under the Private Attorneys General Act, Cal. Labor
 5   Code § 2698. FAC ¶¶ 42–79.
 6                  To the extent plaintiffs’ sixth unfair competition claim survives, it is based on
 7   plaintiffs’ Labor Code claims. See FAC ¶ 65. As the sixth claim is entirely derivative of the first
 8   five, it is not evaluated separately here. To the extent the seventh PAGA claim survives, it also is
 9   derivative of other Labor Code violations and not evaluated separately here. See Cal. Lab. Code
10   § 2699.
11                  Plaintiffs seek compensatory damages for their unpaid wages and/or overtime not
12   paid from at least four years prior to present and for missed meal and/or rest periods in the
13   amount of the class member’s hourly wage. FAC ¶¶ 1, 2. The average salary for hourly
14   employees is $29.00 per hour. Opp’n 2. Plaintiffs also seek penalties, injunctive relief, and
15   restitution under various statutes, prejudgement and post-judgement interest, and attorney’s fees
16   and costs. FAC ¶¶ 1–14.
17         C.       Class Definition
18                  Plaintiffs seek certification of one class1 defined as: “All former and current hourly
19   employees of BALL who were employed at the Fairfield plaint in the production, engineering
20   and/or support departments between September 7, 2012 and trial.” Mot. 2.
21   II.    CLASS ACTIONS GENERALLY
22                  Litigation by a class is “an exception to the usual rule” that only the individual
23   named parties bring and conduct lawsuits. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348
24   (2011) (citation and internal quotation marks omitted). Only when a class action “promot[es] . . .
25   efficiency and economy of litigation,” should a motion for certification be granted. Crown, Cork
26          1
              Although plaintiffs mention subclasses twice in their Memorandum of Points and
27   Authorities, once on page 11 and again on page 15, they have not defined any subclasses or
     specifically moved the court to certify subclasses. See, e.g., Pls.’ Mem. P. & A. 11:25, 15:5
28
                                                       3
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 4 of 16


 1   & Seal Co. v. Parker, 462 U.S. 345, 349 (1983). A court considers whether class litigation
 2   promotes “economies of time, effort and expense, and . . . uniformity of decisions as to persons
 3   similarly situated, without sacrificing procedural fairness or bringing about other undesirable
 4   results.” Fed. R. Civ. P. 23(b)(3) advisory committee’s note to 1966 amendment.
 5                  To be eligible for certification, the proposed class must be “precise, objective, and
 6   presently ascertainable.” Williams v. Oberon Media, Inc., No. 09-8764, 2010 WL 8453723, at
 7   *2 (C.D. Cal. Apr. 19, 2010); see also 7A Charles Alan Wright, et al., Federal Practice and
 8   Procedure § 1760 (3d ed. 2017) (“If the general outlines of the membership of the class are
 9   determinable at the outset of the litigation, a class will be deemed to exist.” (citations omitted)).
10   The proposed class definition need not identify every potential class member from the very start.
11   See, e.g., Doe v. Charleston Area Med. Ctr., Inc., 529 F.2d 638, 645 (4th Cir. 1975); O’Connor v.
12   Boeing N. Am., Inc., 184 F.R.D. 311, 319 (C.D. Cal. 1998). The requirement is a practical one.
13   It is meant to ensure the proposed class definition will allow the court to efficiently and
14   objectively ascertain whether a particular person is a class member, see In re TFT-LCD (Flat
15   Panel) Antitrust Litig., 267 F.R.D. 583, 592 (N.D. Cal. 2010), for example, so that each putative
16   class member can receive notice, O’Connor, 184 F.R.D. at 319.
17                  Class certification is governed by Federal Rule of Civil Procedure 23. The court
18   must first determine whether to certify a putative class, and if it does, it must then define the class
19   claims and issues and appoint class counsel. Fed. R. Civ. P. 23(c)(1), (g). To be certified, a
20   putative class must meet the threshold requirements of Rule 23(a) and the requirements of one of
21   the subsections of Rule 23(b), which defines three types of classes. Leyva v. Medline Indus. Inc.,
22   716 F.3d 510, 512 (9th Cir. 2013). Here, plaintiffs seek certification under only Rule 23(b)(3),2
23   which provides for certification of a class where common questions of law and fact predominate
24   and a class action is the superior means of litigation. Pls.’ Mem. P. & A. 12-16.
25          2
               While plaintiffs state at one point in their motion that the motion “should be granted as
26   the proposed class meets all requirements of certification under 23(b)(1) and 23(b)(2),” Mot. 2:8,
     this is the only time they mention (b)(1) or (b)(2). Otherwise, plaintiffs’ briefing signals they are
27   seeking certification under 23(b)(3) only, see generally, Pls.’ Mem. P. & A., ECF No. 28, and the
     court construes their motion as such.
28
                                                        4
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 5 of 16


 1                  Rule 23(a) imposes four requirements on every class. First, the class must be “so
 2   numerous that joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). Second,
 3   questions of law or fact must be common to the class. Id. 23(a)(2). Third, the named
 4   representatives’ claims or defenses must be typical of those of the class. Id. 23(a)(3). And fourth,
 5   the representatives must “fairly and adequately protect the interests of the class.” Id. 23(a)(4). If
 6   the putative class meets these requirements, Rule 23(b)(3) imposes two additional requirements:
 7   first, “that the questions of law or fact common to class members predominate over any questions
 8   affecting only individual members,” and second, “that a class action is superior to other available
 9   methods for fairly and efficiently adjudicating the controversy.” Id. 23(b)(3). The test of Rule
10   23(b)(3) is “far more demanding,” than that of Rule 23(a). Wolin v. Jaguar Land Rover N. Am.,
11   LLC, 617 F.3d 1168, 1172 (9th Cir. 2010) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.
12   591, 623–24 (1997)).
13                  “The party seeking class certification bears the burden of demonstrating that the
14   requirements of Rules 23(a) and (b) are met.” United Steel, Paper & Forestry, Rubber, Mfg.
15   Energy, Allied Indus. & Serv. Workers Int’l Union, AFL-CIO C.L.C. v. ConocoPhillips Co.,
16   593 F.3d 802, 807 (9th Cir. 2010). This burden is real; Rule 23 embodies more than a “mere
17   pleading standard.” Wal-Mart, 564 U.S. at 350. The party must “prove that there are in fact
18   sufficiently numerous parties, common questions of law or fact, etc.” Id. (emphasis in original).
19   The trial court must then conduct a “rigorous analysis” of whether the party has met its burden,
20   id., and “analyze each of the plaintiff’s claims separately,” Berger v. Home Depot USA, Inc.,
21   741 F.3d 1061, 1068 (9th Cir. 2014) (citing Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S.
22   804, 809 (2011)). The court must verify the putative class’s “actual, not presumed, conformance
23   with Rule 23(a) . . . .” Wal-Mart, 565 U.S. at 351 (alterations omitted) (quoting Gen. Tel. Co. of
24   Sw. v. Falcon, 457 U.S. 147, 160 (1982)). This inquiry often overlaps with consideration of the
25   merits of the plaintiffs’ substantive claims. Wal-Mart, 564 U.S. at 351–52. Indeed, “a district
26   court must consider the merits if they overlap with the Rule 23(a) requirements.” Ellis v. Costco
27   Wholesale Corp., 657 F.3d 970, 981 (9th Cir. 2011) (emphasis in original) (citing Wal-Mart, 564
28   U.S. at 351–52); see also Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013) (“[O]ur cases
                                                       5
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 6 of 16


 1   requir[e] a determination that Rule 23 is satisfied, even when that requires inquiry into the merits
 2   of the claim.”). These same “analytical principles” also apply to the court’s analysis of whether
 3   the plaintiff meets its burden under Rule 23(b). Comcast, 133 S. Ct. at 1432.
 4   III.   EVIDENTIARY ISSUES
 5                  As noted above, defendant objects to plaintiffs’ evidence offered in support of the
 6   motion for certification, as set forth in the Declaration of Plaintiff Robert Westfall and the
 7   Declaration of Matthew Eason. Def.’s Objs., ECF No. 42-1. Defendant relies on Federal Rules
 8   of Evidence 401, 602, 702, 801, 802 and 901 and Section 1401 of the California Evidence Code
 9   as its grounds for objection. Id. In essence, defendant argues certain portions of the declarations
10   lack foundation, relevance, or proper authentication, and other excerpts are vague or inadmissible
11   as hearsay.
12                  The court DENIES defendant’s objections to the declarations. “Numerous courts
13   in this circuit have made clear that ‘[f]or purposes of the class certification inquiry, the evidence
14   need not be presented in a form that would be admissible at trial.’” Brown v. Abercrombie &
15   Fitch Co., CV 14-1242-JGB (VBKx), 2015 WL 9690357, at *5 (C.D. Cal. July 16, 2015) (citing
16   Stitt v. S.F. Mun. Transp. Agency, No. 12-CV-3704 YGR, 2014 WL 1760623, at *1 n.1 (N.D.
17   Cal. May 2, 2014)). “The court need not address the ultimate admissibility of the parties’
18   proffered exhibits, documents and testimony at this stage, and may consider them where
19   necessary for resolution of the [motion for class certification].” Alonzo v. Maximus, Inc., 275
20   F.R.D. 513, 519 (C.D. Cal. 2011); Greer v. Dick's Sporting Goods, Inc., No. 15-CV-01063 KJM,
21   2017 WL 1354568, at *4 (E.D. Cal. Apr. 13, 2017) (denying similar objections to declarations for
22   the same reason).
23   IV.    ANALYSIS
24          A.      Applicable Law
25                  In California, wage and hour claims are governed by two sources of law: the
26   California Labor Code and eighteen wage orders adopted by the Industrial Welfare Commission
27   (IWC). See Mendoza v. Nordstrom, Inc., 2 Cal. 5th 1074, 1082 (2017) (citing Brinker Restaurant
28   Corp. v. Superior Court, 53 Cal. 4th 1004, 1026 (2012)). The California Supreme Court accords
                                                       6
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 7 of 16


 1   these two sources of law equal dignity. Id. They are to be interpreted “in light of the remedial
 2   nature of the legislative enactments” and “liberally construed with an eye to promoting ... [the]
 3   protection [of employees].” Brinker, 53 Cal.4th at 1026–27 (quoting Industrial Welfare Com. v.
 4   Superior Court, 27 Cal.3d 690 (1980)).
 5                  IWC Wage Order No. 4–2001, Cal. Code Regs. tit. 8, § 11040(11), defines certain
 6   required thirty-minute meal breaks. An employee may recover one hour of pay for each day on
 7   which the employer did not offer a compliant rest break. Id. § 11080(12)(B). The wage order
 8   also provides that “[u]nless the employee is relieved of all duty” during a meal break, it is
 9   “considered an ‘on duty’ meal period and counted as time worked.” Id. § 11040(11); see also
10   Cal. Lab. Code § 1194(a) (allowing an employee to recover in a civil action any unpaid overtime
11   wages, interest, attorney’s fees, and costs). “[S]tate law prohibits on-duty and on-call rest
12   periods. During required rest periods, employers must relieve their employees of all duties and
13   relinquish any control over how employees spend their break time.” Augustus v. ABM Sec.
14   Servs., Inc., 2 Cal. 5th 257, 260 (2016) (citing Brinker, 53 Cal.4th at 1038–39). An employer
15   must: (a) “relieve[] its employees of all duty,” (b) relinquish[] control over their activities,” (c)
16   “permit[] them a reasonable opportunity to take an uninterrupted 30-minute break,” and (d) “not
17   impede or discourage them from doing so.” Brinker, 53 Cal. 4th at 1040–41.
18                  Plaintiffs’ first claim alleges that BMBC owes them wages and/or overtime pay for
19   the time they spent taking on-duty meal breaks because they were required to monitor the pages
20   during this time. FAC ¶¶ 42–44. In their second and third claims, plaintiffs point to two sections
21   of the labor code requiring an employer to pay one hour of pay at an employee’s regular rate for
22   each workday on which a duty-free meal or rest period was not provided. Id. ¶¶ 45–55 (citing to
23   Cal. Lab. Code §§ 226.7 and 512). They claim damages for these unpaid penalties. FAC ¶¶ 44,
24   50, 55.
25         B.       Evidence
26                  Plaintiffs rely primarily on declarations and have furnished declarations of 27
27   members of the putative class. ECF No. 30. In the declarations, putative class members attest
28   directly to BMBC’s interrupting their breaks by requiring each of them to stop what they were
                                                        7
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 8 of 16


 1   doing and listen to the pages to determine whether the announcement applied to him or her. See,
 2   e.g., id.
 3                        Plaintiffs also have provided a copy of the Position Description, which applies to
 4   all “maintainer” positions, posted in the BMBC facility from June 1, 2012, to present. See id. Ex.
 5   AA. They also claim to provide a copy of a Shop Policies memo provided to named plaintiff
 6   Westfall shortly after he started, although the memo does not appear to be attached.3 See id. Ex.
 7   AA & BB. The Position Description notes that one of the physical requirements is a “high degree
 8   of mental effort due to considerable interruptions and/or frequent changes of activity or
 9   workloads during a typical day.” Id. Ex. AA at 3. The memo, as explained by Westfall in his
10   declaration and cited by plaintiffs in their briefing, Pls.’ Mem. P. & A. 7, mandates that all
11   employees are “responsible for all calls between 6:00 and 6:00 and trouble calls … will be
12   answered by all on duty ETs.” Id.
13          C.            Certification
14                        We first analyze whether the putative class meets the four threshold requirements
15   of Rule 23(a) and then determine whether the class satisfies the requirements of Rule 23(b). See
16   Leyva v. Medline Indus. Inc., 716 F.3d 510, 512 (9th Cir. 2013).
17                        1.     Numerosity
18                        A class must be “so numerous that joinder of all members is impracticable.”
19   Fed. R. Civ. P. 23(a)(1). In the instant case, there are approximately 140 to 150 members of the
20   proposed class. Pls.’ Mem. P. & A. 8. Defendant contends plaintiffs cannot satisfy the
21   numerosity requirement because the group is not so large that joinder would be impracticable”
22   and cites two cases involving consumer class actions in which the numerosity requirement was
23   satisfied. Opp’n 22 (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998);
24   Fraser et al v. Wal-Mart Stores, Inc., 2016WL 6208367 (E.D. Cal. Oct. 24, 2016), at *3)).
25   Defendant further argues that numerosity is lacking as to any subclass; however, as noted above,
26   plaintiffs have not identified any subclasses, and the court declines to define any subclasses under
27
                 3
                     The absence of the memo from the record does not affect the court’s analysis here.
28
                                                           8
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 9 of 16


 1   Rule 23(c)(5). Id. The court finds that the proposed class satisfies the numerosity requirement,
 2   which is presumptively satisfied when there are at least forty members. See Avilez v. Pinkerton
 3   Gov’t Servs., 286 F.R.D. 450, 456 (C.D. Cal. 2012).
 4                  2.      Typicality
 5                  The “claims or defenses of the representative parties [must be] typical of the
 6   claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). BMBC does not specifically dispute
 7   the typicality of the claims and defenses of the proposed class representatives. See generally
 8   Opp’n. Plaintiffs argue the typicality prong of Rule 23 is satisfied because the representative
 9   plaintiffs work or worked as non-exempt, hourly employees and were “required to listen to the
10   public access/paging communication system and monitor for pages” “even when taking a break in
11   the Suitable Resting Facility.” Pls.’ Mem. P. & A. 11-12. The court finds the claims and
12   defenses of the proposed class representatives—Westfall, Anderson, Ellinger and Bobby—are
13   typical, and Rule 23(a)(3) is satisfied.
14                  3.      Adequacy
15                  Class representatives must be able to “fairly and adequately protect the interests of
16   the class.” Fed. R. Civ. P. 23(a)(4). “Resolution of two questions determines legal adequacy:
17   (1) do the named plaintiffs and their counsel have any conflicts of interest with other class
18   members and (2) will the named plaintiffs and their counsel prosecute the action vigorously on
19   behalf of the class?” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). Although
20   BMBC argues the named plaintiffs lack the ability to adequately represent the class, BMBC does
21   not give adequate detail to show that there is any conflict of interest or other reason the named
22   plaintiffs will not or cannot act vigilantly in prosecuting the action on behalf of the putative class.
23   Opp’n 22. The court finds Rule 23(a)(4) is satisfied.
24                  4.      Commonality and Predominance
25                  Rule 23(a) also requires “questions of law or fact common to the class.” Fed. R.
26   Civ. P. 23(a)(2). Such questions exist where class members suffer the same alleged injury,
27   Falcon, 457 U.S. at 156, such that simultaneous litigation is productive, Wal-Mart, 131 S. Ct. at
28   2551. “This does not mean merely that [class members] have all suffered a violation of the same
                                                        9
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 10 of 16


 1    provision of law.” Id. Rather, the claims “must depend upon a common contention,” the nature
 2    of which “is capable of classwide resolution.” Id. Common litigation must “resolve an issue that
 3    is central to the validity of each one of the claims in one stroke.” Id. Although just one common
 4    question could suffice to establish commonality, id. at 2556, the true inquiry is into “the capacity
 5    of a classwide proceeding to generate common answers apt to drive the resolution of the
 6    litigation,” id. at 2551 (emphasis in original) (citation and internal quotation marks omitted).
 7    “Dissimilarities within the proposed class[, however,] ... have the potential to impede the
 8    generation of common answers.” Id. (citation and internal quotation marks omitted).
 9                   After establishing the existence of common questions of law or fact, the proponent
10    of a putative class also must establish that these questions “predominate over any questions
11    affecting only individual members.” Fed. R. Civ. P. 23(b)(3). “The predominance analysis under
12    Rule 23(b)(3) focuses on ‘the relationship between the common and individual issues in the case
13    and ‘tests whether proposed classes are sufficiently cohesive to warrant adjudication by
14    representation.’” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 545 (9th Cir. 2013) (quoting
15    Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022 (9th Cir. 1998)). Some variation is permitted
16    among individual plaintiffs’ claims, Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 963 (9th
17    Cir. 2013), but Rule 23(b)(3) is “more demanding than Rule 23(a),” Comcast, 133 S. Ct. at 1432.
18    Courts are thus required “to take a ‘close look’ at whether common questions predominate over
19    individual ones,” id. (citation omitted), “begin[ning] ... with the elements of the underlying cause
20    of action,” Erica P. John Fund, Inc., 131 S. Ct. at 2184. Plaintiffs need not show at the threshold
21    certification threshold stage predominant questions will be answered in their favor. Amgen, Inc.
22    v. Conn. Ret. Plans & Trust Funds, __ U.S. __, 133 S. Ct. 1184, 1196 (2013). The court
23    considers the merits of the plaintiff’s underlying claim only to the extent required by Rule 23. Id.
24    at 1194–95 (citing Wal–Mart, 131 S. Ct. at 2552 n.6); Comcast, 133 S. Ct. at 1432 (“Such an
25    analysis will frequently entail ‘overlap with the merits of the plaintiff's underlying claim’…
26    because the ‘class determination generally involves considerations that are enmeshed in the
27    factual and legal issues comprising the plaintiff's cause of action.’”) (quoting Falcon, 457 U.S. at
28    160).
                                                       10
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 11 of 16


 1                   To prevail on a motion to certify a class under Rule 23(b)(3), the party seeking
 2    certification must show: “(1) that the existence of individual injury resulting from the alleged ...
 3    violation ... [is] capable of proof at trial through evidence that is common to the class rather than
 4    individual to its members; and (2) that the damages resulting from that injury [are] measurable on
 5    a class-wide basis through use of a common methodology.” Comcast, 133 S. Ct. at 1430 (citation
 6    and internal quotation marks omitted). “Rule 23(b)(3), however, does not require a plaintiff ... to
 7    prove that each elemen[t] of [her] claim [is] susceptible to classwide proof.” Amgen, 133 S. Ct. at
 8    1197 (emphasis and alterations in Amgen ) (citation and internal quotation marks omitted).
 9    Similarly, because “ ‘individualized monetary claims belong in Rule 23(b)(3),’” “the presence of
10    individual damages cannot, by itself, defeat class certification....” Leyva v. Medline Indus. Inc.,
11    716 F.3d 510, 514 (9th Cir. 2013) (quoting Wal–Mart, 131 S. Ct. at 2558).
12                   In the context of a wage and hour claim, an employer’s “uniform ... policies... are
13    relevant to the Rule 23(b)(3) analysis,” but a district court may not “rely on such policies to the
14    near exclusion of other relevant factors touching on predominance.” In re Wells Fargo Home
15    Mortg. Overtime Pay Litig., 571 F.3d 953, 955 (9th Cir. 2009). Rather, the court must
16    “consider[ ] all factors that militate in favor of, or against, class certification.” Vinole v.
17    Countrywide Home Loans, Inc., 571 F.3d 935, 946 (9th Cir. 2009) (citation omitted).
18                   Here, the common issue that predominates over individual issues is whether
19    BMBC’s “use of the public address system and its requirement that employees listen to the
20    communications to see if they applied to them and respond if necessary,” violated its requirement
21    under California law to provide its employees with off-duty meal and rest breaks. Pls.’ Mem. P.
22    & A. 12. The putative class consists of those employees who not only were actually called away
23    from a meal or rest break and not compensated for the missed break, but to the entire group of
24    employees who work at the plant and were required to listen to the pages during breaks to
25    determine whether or not the pages applied to them. Id. “All of these positions were subject to
26    the same method of communication and utilized the same designated rest break area.” Reply 3;
27    see, e.g., Pls.’ Mem. P. & A. 5:15–16, 8:17–20. It is exposure to this common method of
28    /////
                                                        11
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 12 of 16


 1    communication, not the issue of whether or not the employees were called away from their meal
 2    or rest break, which is the predominating common issue in this case.
 3                   BMBC makes several arguments regarding the substantive merits of plaintiffs’
 4    claim and cites several cases to support its position. See generally Opp’n. While the court looks
 5    to the merits of the plaintiff's underlying claim to determine whether commonality exists for the
 6    purposes of Rule 23, it does not, at this stage, “judge the validity of [plaintiffs’] claims.”
 7    ConocoPhillips Co., 593 F.3d at 808 (reversing denial of class certification because “the district
 8    court not only ‘judge[d] the validity” of plaintiffs’ “on duty” claims, it did so using a nearly
 9    insurmountable standard, concluding that merely because it was not assured that plaintiffs would
10    prevail on their primary legal theory, that theory was not the appropriate basis for the
11    predominance inquiry.”). The court need not now inquire, as BMBC suggests, into whether or
12    not plaintiffs’ claims will ultimately prevail. It may of course consider merits challenges at the
13    later summary judgment stage, cf. Opp’n 17 (citing Novoa v. Charter Communications, LLC, 100
14    F.Supp.3d 1013 (E.D. Cal. April 21, 2015)), or on a motion to decertify the class at a later point
15    in the case. United Steel, 593 F.3d at 809 (“Moreover, a district court retains flexibility to
16    address problems with a certified class as they arise, including the ability to decertify.”). The
17    court finds common issues predominate here.
18                   5.      Superiority
19                   Predominance of common questions does not alone justify approval of a class
20    action, “for another method of handling the [case] may be available which has greater practical
21    advantages.” Fed. R. Civ. P. 23(b)(3) advisory committee’s note to 1966 amendment. Rule
22    23(b)(3) requires a court find a class action is the “superior” method of resolution. Id. This
23    constraint is meant to lead the court “to assess the relative advantages of alternative procedures
24    for handling the total controversy.” Id. Rule 23(b)(3) provides that superiority is determined by
25    considering, for example,
26                   (A) the class members’ interests in individually controlling the
27                       prosecution or defense of separate actions;

28
                                                        12
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 13 of 16


 1                     (B) the extent and nature of any litigation concerning the
                           controversy already begun by or against class members;
 2

 3                     (C) the desirability or undesirability of concentrating the litigation
                           of the claims in the particular forum; and
 4
                       (D) the likely difficulties in managing the class action.
 5
      Id.; see also Zinser v. Accuflix Research Inst., Inc., 253 F.3d 1180, 1190 (9th Cir. 2001).
 6
                       The Supreme Court has acknowledged that Rule 23(b)(3) contemplates the
 7
      “vindication of the rights of groups of people who individually would be without effective
 8
      strength to bring their opponents into court at all.” Amchem, 521 U.S. at 617 (citation and
 9
      internal quotation marks omitted). “The policy at the very core of the class action mechanism is
10
      to overcome the problem that small recoveries do not provide the incentive for any individual to
11
      bring a solo action . . . . A class action solves this problem by aggregating the relatively paltry
12
      potential recoveries . . . .” Id.
13
                       The court first assesses the proposed class against the factors described in Rule
14
      23(b)(3). Regarding the first factor, “the class members’ interests in individually controlling the
15
      prosecution or defense of separate claims,” Fed. R. Civ. P. 23(b)(3)(A), when smaller dollar
16
      amounts are in controversy, this factor generally favors certification. Zinser, 253 F.3d at 1190–
17
      91. Resolution of this factor takes into account the policy noted above of incentivizing legitimate
18
      claims even when, as here, individual damages are modest. Amchem, 521 U.S. at 617; Pls.’ Mem.
19
      P. & A. 15 (“Given the amounts at issue, [p]laintiff[s] … would not likely be able to secure
20
      individual representation for their claims.”). Large, complex claims do not fit so well in a class as
21
      do smaller, simpler claims. See Zinser, 253 F.3d at 1190–91. Here, the relatively small size of
22
      the putative class and likely relatively small individual claims asserted by plaintiffs do not make
23
      individual litigation attractive or sustainable. Cf. Pena v. Taylor Farms Pac., Inc., 305 F.R.D.
24
      197, 220–21 (E.D. Cal. 2015) (finding relatively small individual claims in a similar California
25
      wage and hour class action). Additionally, defendant does not dispute this factor in its
26
      opposition. See generally Opp’n. Thus, this factor favors certification.
27

28
                                                         13
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 14 of 16


 1                   The second factor, the “extent and nature of any litigation concerning the
 2    controversy already commenced by or against members of the class,” Fed. R. Civ. P. 23(b)(3)(B),
 3    is meant to “assur[e] judicial economy and reduc[e] the possibility of multiple lawsuits.” Zinser,
 4    253 F.3d at 1191 (quoting 7A Charles Alan Wright, et al., Federal Practice and Procedure §
 5    1780 at 568–70 (3d ed. 2017)). Here, the parties have not described, and the court is not aware of
 6    any other related litigation. This factor favors certification.
 7                   The third factor is “the desirability or undesirability of concentrating the litigation”
 8    in this forum. Fed. R. Civ. P. 23(b)(3)(C). The putative class comprises only those current and
 9    former employees at the Fairfield plant, located in this district. Mot. 2. There is no basis for a
10    non-California forum. Moreover, the entire class is presumably in this federal judicial district.
11    This factor favors certification.
12                   The fourth factor weighs the “likely difficulties in managing the class action.”
13    Fed. R. Civ. P. 23(b)(3)(D). This is the only superiority factor BMBC disputes. Opp’n 24.
14    Plaintiffs propose to conduct trial in two phases: the first to determine liability, and the second to
15    determine damages. See Pls.’ Mem. P. & A. 15. They propose the first phase to rely on
16    “testimony and declarations regarding the use of the PA/paging system used to communicate
17    with the employees throughout the plant,” id., and say “[t]he lion’s share of this litigation can be
18    resolved in the liability phase of trial.” Id. The second phase would use BMBC records and
19    timekeeping data “to determine the number of violations [and] the aggregate hourly wages and
20    penalty calculations.” Id. at 16. Defendant argues that plaintiffs have not proposed a trial plan
21    and the “class claims are not manageable” because plaintiffs were not all affected by the
22    interruptions in the same way. Opp’n at 24. These differences, however, speak to the individual
23    damages inquiry that may need to be conducted at trial, which is not enough for the court to
24    determine that class treatment is not favorable. See Leyva, 716 F.3d at 514 (“[T]he presence of
25    individual damages cannot, by itself, defeat class certification ….”). This class action is
26    manageable due to plaintiffs proposed trial plan and the relatively small number of plaintiffs. Cf.
27    Greer, 2017 WL 1354568, at *10 (finding class action superior in a similar California wage and
28    hour claim where plaintiff proposed a similar bifurcated trial plan).
                                                        14
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 15 of 16


 1                    On balance, application of the four factors suggests a class action is the superior
 2    means to try the common questions of law and fact that predominate here.
 3                    The Ninth Circuit also has required district courts to consider alternative means of
 4    litigating a proposed class action. See Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234–35
 5    (9th Cir. 1996) (“A class action is the superior method for managing litigation if no realistic
 6    alternative exists.”). In particular, individual litigation, joinder, multidistrict litigation, or an
 7    administrative or other non-judicial solution may be superior. See 7A Charles A. Wright, et al.,
 8    Federal Practice & Procedure § 1779 (3d ed. 2017). Because class members here have modest
 9    claims, individual litigation is unlikely to present a viable means of recovery. Additionally, all of
10    the relevant evidence is in one location as the putative class is located only at the Fairfield plant.
11    There is no reason to think joinder or multidistrict litigation is an option, and there is no
12    administrative forum available to plaintiffs which could address their claims. The class therefore
13    satisfies the superiority requirement as to claims one, two, three, six and seven.
14           D.       Other Claims
15                    1.      Fourth Claim (Wage Statement Penalties)
16                    Employers must include certain information with paychecks, including, for
17    example, wages earned, hours worked, all deductions, the dates of the pay period, the employer’s
18    name and address, and all applicable hourly rates. Cal. Lab. Code § 226(a). Plaintiffs allege in
19    their fourth claim that BMBC did not include the required information on their paychecks. FAC
20    ¶¶ 56-59. California law requires only a “very modest showing” of injury in a claim under this
21    provision of the California Labor Code. Jaimez v. DAIOHS USA, Inc., 181 Cal. App. 4th 1286,
22    1306 (2010); see also Escano v. Kindred Healthcare Operating Co., Inc., No. 09–04778, 2013
23    WL 816146, at *11 (C.D. Cal. Mar. 3 2013) (“[T]he injury requirement should be interpreted as
24    minimal in order to effectuate the purpose of the wage statement statute; if the injury requirement
25    were more than minimal, it would nullify the impact of the requirements of the statute.”).
26                    Plaintiffs have not provided any examples of wage statements at all in support of
27    their fourth claim. Cf. Pena, 305 F.R.D. at 224 (denying certification of wage statement subclass
28    because plaintiffs failed to provide sufficient evidence when they only provided one wage
                                                          15
     Case 2:16-cv-02632-KJM-CKD Document 54 Filed 02/05/18 Page 16 of 16


 1    statement in support of their position). Accordingly, plaintiffs have not provided sufficient
 2    evidence to allow certification on this issue.
 3                   2.      Fifth Claim (Waiting Time Penalties)
 4                   Section 201(a) of the California Labor Code provides, as a general rule, that “[i]f
 5    an employer discharges an employee, the wages earned and unpaid at the time of discharge are
 6    due and payable immediately.” Cal. Lab. Code § 201(a). Section 202(a) provides, as a general
 7    rule, that if an employee resigns, wages become due seventy-two hours later, unless the resigning
 8    employee gives seventy-two hours’ notice, in which case wages are due immediately. Id.
 9    § 202(a). Section 203(a) provides that if an employer “willfully fails to pay” as required by
10    sections 201(a) and 202(a), “the wages of the employee shall continue as a penalty from the due
11    date thereof at the same rate until paid or until an action therefor is commenced” for up to thirty
12    days. Id. § 203(a). Plaintiffs claim defendant did not pay them all wages due on their last day if
13    they were fired, or within seventy-two hours if they resigned.
14                   Plaintiffs have not provided any evidence to support certification on this issue.
15    The only declarations plaintiffs have provided are those of current employees of BMBC. The
16    only former employee named as a plaintiff is Lynn Bobby, but plaintiffs have not provided
17    evidence to show Bobby or any other former employees were subject to waiting time penalties.
18    V.     CONCLUSION
19                   As to the first, second, third, sixth and seventh claims, the court finds plaintiffs
20    have satisfied the requirements of Rule 23(a) and (b) to allow class certification. The court
21    therefore GRANTS IN PART plaintiffs’ motion for class certification as to these claims, and
22    otherwise DENIES the motion.
23                   IT IS SO ORDERED.
24                   This resolves ECF No. 27.
25    DATED: February 2, 2018.
26
                                                        UNITED STATES DISTRICT JUDGE
27

28
                                                       16
